          Case 2:20-cr-00037-TOR              ECF No. 98         filed 10/15/20      PageID.217 Page 1 of 2
PS 8
(3/15)


                                UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                           U.S. DISTRICT COURT
                                                                                                     EASTERN DISTRICT OF WASHINGTON
                                                               for
                                             Eastern District of Washington                           Oct 15, 2020
                                                                                                          SEAN F. MCAVOY, CLERK



 U.S.A. vs.                      Runkle, Sabrina                            Docket No.             2:20CR00037-TOR-2


                                  Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Sabrina Runkle, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T. Rodgers,
sitting in the Court at Spokane, Washington, on the 6th day of March 2020, under the following conditions:

Standard Condition #1: Defendant shall not commit any offense in violation of federal, state or local law. Defendant shall
advise the supervising Pretrial Services Officer and defense counsel within one business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any federal or state law enforcement
agency, unless Defendant first notifies the supervising Pretrial Services Officer in the captioned matter.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Sabrina Runkle is alleged to have violated her conditions of pretrial release supervision by being cited with
second degree negligent driving on September 26, 2020.

On March 9, 2020, the conditions of pretrial release supervision were reviewed with Ms. Runkle. Ms. Runkle acknowledged
an understanding of the conditions, which included standard condition number one.

The following information has been gathered from Washington State Patrol incident report number 2020092600001667.

On September 26, 2020, a trooper with the Washington State Patrol observed a vehicle, allegedly driven by Ms. Runkle,
driving in lane 1 of 3 lanes on Interstate 90, in Spokane, Washington. Ms. Runkle allegedly made a sudden lane change from
lane 1 of 3 lanes, to lane 3 of 3, and began to pass traffic at a high rate of speed. The trooper activated a radar that detected
Ms. Runkle was allegedly driving 91 miles per hour (MPH), in a 60 MPH zone. Subsequently, the trooper increased his
vehicle's speed and observed Ms. Runkle's vehicle make a second unsafe lane change from lane 3 of 3, into lane 2, causing
traffic in lane 2 to brake to avoid a collision. As the trooper began to catch up with Ms. Runkle's vehicle, she changed lanes
from lane 2 to lane 1, and began to follow traffic well within one vehicle's length as she continued to travel down the
roadway.

The trooper conducted a traffic stop on Ms. Runkle's vehicle.

Available court records indicate Ms. Runkle was formally cited in Spokane County District Court case number XZ0645173
with second degree negligent driving. It appears the Spokane County District Court mailed a letter to Ms. Runkle on
September 30, 2020. Ms. Runkle needs to respond to this citation by October 18, 2020.

Violation #2: Sabrina Runkle is alleged to have violated her conditions of pretrial supervision by failing to report law
enforcement contact within 1 business day.

On March 9, 2020, the conditions of pretrial release supervision were reviewed with Ms. Runkle. Ms. Runkle acknowledged
an understanding of the conditions, which included standard condition number one.

As noted in violation number one, on September 26, 2020, the Washington State Patrol conducted a traffic stop with Ms.
Runkle, in which she was cited for second degree negligent driving. Ms. Runkle failed to report this law enforcement contact
to the undersigned officer within 1 business day.
           Case 2:20-cr-00037-TOR         ECF No. 98       filed 10/15/20       PageID.218 Page 2 of 2
   PS-8
   Re: Runkle, Sabrina
   October 15, 2020
   Page 2
On October 5, 2020, the undersigned officer confronted Ms. Runkle about her contact with law enforcement on September
26, 2020. The undersigned officer reminded Ms. Runkle of her requirement to report any law enforcement contact to the
undersigned officer within 1 business day.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME
                                                                       I declare under the penalty of perjury
                                                                       that the foregoing is true and correct.
                                                                       Executed on:       October 15, 2020
                                                              by       s/Erik Carlson
                                                                       Erik Carlson
                                                                       U.S. Pretrial Services Officer


THE COURT ORDERS

[X ]      No Action
[ ]       The Issuance of a Warrant
[ ]       The Issuance of a Summons
[ ]       The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
[ ]       Defendant to appear before the Judge assigned to the case.
[ ]       Defendant to appear before the Magistrate Judge.
[ ]       Other


                                                                         Signature of Judicial Officer
                                                                          10/15/2020

                                                                         Date
